             Case 2:19-cr-00142-APG-DJA Document 101 Filed 01/11/21 Page 1 of 3




     THOMAS A. ERICSSON, ESQ.
 1   Nevada Bar No. 4982
 2   Oronoz & Ericsson, LLC
     1050 Indigo Drive, Suite 120
 3   Las Vegas, Nevada 89145
     Telephone: (702) 878-2889
 4   Facsimile: (702) 522-1542
     tom@oronozlawyers.com
 5
     Attorney for Kevin Stubbs
 6
                                 UNITED STATES DISTRICT COURT
 7
 8                          DISTRICT OF NEVADA
                                     )
 9   UNITED STATES OF AMERICA,       )
                Plaintiff,           )
10                                   ) CASE NO: 2:19-cr-00142-APG-DJA
                                     )
                vs.                  ) STIPULATION TO CONTINUE MOTION
11
                                     ) DEADLINE
12   KEVIN SHAWN STUBBS,             )
               Defendant.            ) (Seventh Request)
13                                   )
                                     )
14                                   )
                                     )
15                                   )
                                     )
16                                   )

17
             IT IS HEREBY STIPULATED AND AGREED by KEVIN STUBBS, by and
18
     through his attorney, THOMAS A. ERICSSON, ESQ., and the United States of America, by
19
     and through RICHARD A. LOPEZ, ESQ., Assistant United States Attorney, that the motion
20
     deadline currently scheduled for January 11, 2021, be vacated and continued to January 18,
21
     2021.
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           Case 2:19-cr-00142-APG-DJA Document 101 Filed 01/11/21 Page 2 of 3




 1          This Stipulation is entered into for the following reasons:
 2
            1.     The parties seek a continuance of the motion deadline to allow the parties
 3                 additional time to prepare their respective motions.

 4          2.     The Defendant is in custody and agrees with the continuance.
 5
            3.     The parties agree to the continuance.
 6
            4.     The parties do not anticipate that this stipulation will affect the current trial
 7                 date as it stands.
 8
     Dated: January 11, 2021
 9
10
            Respectfully submitted,
11
12
     /s/ Thomas A. Ericsson       .                /s/ Richard A. Lopez
13   Thomas A. Ericsson, Esq.                      Richard A. Lopez, Esq.
     Oronoz & Ericsson, LLC                        Assistant United States Attorney
14   1050 Indigo Drive, Suite 120                  501 Las Vegas Blvd. South, Suite 1100
15   Las Vegas, Nevada 89145                       Las Vegas, Nevada 89101
     Attorney for Kevin Stubbs                     Attorney for the United States of America
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           Case 2:19-cr-00142-APG-DJA Document 101 Filed 01/11/21 Page 3 of 3



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     Oronoz & Ericsson, LLC
 2   1050 Indigo Drive, Suite 120
     Las Vegas, Nevada 89145
 3   Telephone: (702) 878-2889
 4   Facsimile: (702) 522-1542
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 5
     Attorney for Kevin Stubbs
 6
 7
 8                               UNITED STATES DISTRICT COURT
 9                          DISTRICT OF NEVADA
                                   ***
10                                   )
     UNITED STATES OF AMERICA,       )
11              Plaintiff,           )
                                     ) 2:19-cr-00142-APG-DJA
12                                   )
                vs.                  ) ORDER
13                                   )
     KEVIN SHAWN STUBBS,             ) (Seventh Request)
14             Defendant.            )
                                     )
15                                   )
                                     )
16                                   )
                                     )
17                                   )
                                     )
18
19          IT IS THEREFORE ORDERED that the motion deadline currently scheduled for
20
     January 11, 2021, be vacated and continued to January 18, 2021.
21
                 11th day of January, 2021.
     DATED this _____
22
23
24
25                                                       ________________________________
26                                                       UNITED STATES DISTRICT JUDGE

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